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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 EMILY PATERSON,                               )
                                               )
         Plaintiff,                            )
                                               )
         v.                                    )      Civil y\clion No. l:24-cv-345 (RDA/IDD)
                                               )
 EXPERIAN INFORMATION                          )
 SOLUTIONS,           ai,                      )
                                               )
         Defendants.                           )

                                              ORDER


         This matter comes before the Court on the parties' Stipulation ol Dismissal.       Dkt. 30.


 Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), the action is

 DISMISSED WITH PREJUDICE; and it is

         FURTI-IER ORDERED that Defendant JPMorgan Chase Bank’s Motion for Leave to File

 Counterclaim is DENIED as moot.


         The Clerk is directed to forward copies of this Order to counsel of record and to close this

 civil action.


         It is SO ORDERED.


 Alexandria. Virginia
 .lanuary     2025

                                                                               /s/
                                                            Rossie D. Alston, Jr.'
                                                            United States District Judge
